867 F.2d 610Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Horace T. WOODS, III, Petitioner-Appellant,v.WARDEN, NOTTOWAY CORRECTIONAL CENTER;  Attorney General ofVirginia, Respondents-Appellees.
    No. 88-6802.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 14, 1988.Decided:  Jan. 17, 1989.
    
      Horace T. Woods, III, appellant pro se.
      Linwood Theodore Wells, Jr.  (Office of the Attorney General of Virginia), for appellees.
      Before WIDENER and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Horace T. Wells, III, seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Woods v. Warden, Nottoway Correctional Center, C/A No. 88-256-R (E.D.Va. Aug. 29, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    